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Case 8:17-Cr-00158-DOC Document 1 Filed 11/14/17 Page 1 of 2 Page |D #:1

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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
S§HY§ §§ zA-QIOOM 8”'

Plaintiff, ___________
v. [18 U.S.C. § lOOl(a)(Z): False
Statement Within Jurisdiction of
MINA KOLTA, the United StateS]

aka “Matt Kolta,”

Defendant.

 

 

 

 

The Acting United States Attorney charges:
[18 U.S.C. § lOOl(a)(Z)]

On or about January 22, 2016, in Orange County, within the
Central District of California, and elsewhere, in a matter within the
jurisdiction of the executive branch of the government of the United
States, specifically, the Federal Bureau of Investigation (“FBI”) and
the Defense Criminal Investigative Service (“DCIS”), defendant MINA
KOLTA, also known as “Matt Kolta” (“defendant KOLTA”), knowingly and
willfully made a materially false, fictitious, and fraudulent
statement and representation, in that defendant KOLTA told agents of
the FBI and DCIS that he (defendant KOLTA) had never heard of James

Chen or Haoeyou Pharmacy. In truth and in fact, as defendant

 

 

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Case 8:17-Cr-00158-DOC Document 1 Filed 11/14/17 Page 2 of 2 Page |D #:2

KOLTA then well knew, he had negotiated a contract with James Chen
and Haeoyou Pharmacy for the payment of fees in exchange for the
referral of prescriptions to be filled by a pharmacy with which
defendant KOLTA was associated, namely, Trucare Pharmacy.

~SANDRA R. BROWN
Acting United States Attorney

/;\=_T_/

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

GEORGE S. CARDONA' .
Assistant United States Attorney
Chief, Major Frauds Section

STEPHEN A. CAZARES
Assistant United States Attorney
Deputy Chief, Major Frauds Section

MARK AVEIS

PAUL G. STERN

CASSIE D. PALMER

Assistant United States Attorneys
Major Frauds Section

 

